AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)         Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Middle District of North Carolina

                     United States of America
                                v.                                          )
                                                                            ) Case No: 1:21CR310-4
       LORENZO FRANCISCO RANGEL SEGUNDO                                     )
                                                                            ) USM No: 61106-509
          Date of Original Judgment: September 23, 2022                     )
Date of Previous Amended Judgment:                                          )
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
Upon motion of        ☒ the defendant         ☐ the Director of the Bureau of Prisons ☐ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is DENIED.


                             (See Page 2 for additional parts. Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated September 23, 2022, shall remain in effect.
IT IS SO ORDERED.

Order Date: October 4, 2024
                                                                                                       Judge’s signature


Effective Date:                                                                      Loretta C. Biggs, United States District Judge
                     (if different from order date)                                                Printed name and title




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